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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DisTRICT CoURT

for the

Eastern District of New York

 

 

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Plamzi/f(s) )
V- § Civil Action No. lB-CV-l 702

Citibank, N.A. )

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SUMMONS IN A CIVIL ACTION

Citibank, N.A.
One Court Square
Long |sland City, NY 11101

TOI (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States ora United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(Z) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
whose name and address are. Matthew Sched|er

CAMBA Lega| Services, lnc.

885 F|atbush Avenue, 2nd F!oor
Brookyn, NY 11226

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

DOUGLAS C. PALMER
CLERK oF COURT

Date: i _i ii iiiiiiii i _

 

Signature of Cle)'k or De[)uty Clerk

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Civil Action No. 18-cv-1702

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThiS SummOnS for (mune of individual and title, ifany)

 

was received by me on (dare)

ij l personally served the summons on the individual at (place)

 

on (daze_) ; or

 

ij I left the summons at the individual’s residence or usual place of abode with (mzme)

, a person of suitable age and discretion who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

[:l l served the summons on (mzme ofindividual) , Who is

designated by law to accept service of process on behalf of (name qfo)~ganizazion)

 

 

 

On (dale) ; Or
ij l returned the summons unexecuted because ; or
g Ofll€l' (rpecg`fy).'
My fees are $ for travel and $ for services, for a total of $ 0_0()

l declare under penalty of perjury that this information is true.

Date:

Se)'ver 's Signatm'e

 

P)'im‘ed name and title

 

Se)'ver 's address

Additional information regarding attempted service, etc:

